                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                     No. 20 CR 447
        v.
                                                     Judge Robert W. Gettleman
 KOSHAUN L. HUGHES

            GOVERNMENT’S RESPONSE TO DEFENDANT’S
         MOTION TO QUASH ARREST AND SUPPRESS EVIDENCE

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby responds to

defendant Koshaun Hughes’s suppression motion (R. 22) and requests that the Court

deny the motion after a hearing.      The government anticipates that its evidence at a

hearing will establish that law enforcement’s search of Hughes’s vehicle was lawful

and not in violation of the Fourth Amendment to the United States Constitution.

I.    INTRODUCTION

      Hughes is charged with one count of being a felon in possession of a firearm in

violation of 18 U.S.C. § 922(g)(1).   R. 12.   Hughes now moves to suppress the loaded

firearm seized from his vehicle—which is the basis for the charge against him—

asserting that Chicago Police officers unlawfully searched his vehicle during a traffic

stop. Hughes Mot. at 2.     The motion should be denied.

      On July 31, 2020, Chicago Police officers pulled over Hughes in his vehicle after

seeing Hughes commit two separate traffic violations: not wearing a seatbelt and

failing to use a turn signal. As Chicago Police officer Maria Sigartau approached

the driver’s side of the vehicle, she saw Hughes reach with his right hand and place
an L-shaped item that appeared to be in the shape of a handgun on the backseat

floorboard.   When Officer Sigartau reached the vehicle and talked to Hughes while

he was sitting in the driver’s seat, Hughes appeared nervous and was moving around

a lot in his seat.   Officer Sigartau asked Hughes to exit the vehicle, and he complied.

Officer Sigartau then asked Hughes if there was a gun in the vehicle, and Hughes

admitted that there was.      After Officer Sigartau handcuffed Hughes, she recovered

a loaded semi-automatic pistol from the backseat floorboard.

       Hughes’s acknowledgement that there was a gun in the vehicle, as well as

Officer Sigartau’s observations of Hughes, provided probable cause to search the

vehicle and recover the loaded firearm from the backseat floorboard.       Accordingly,

Hughes’s motion should be denied following a hearing.

II.    FACTUAL BACKGROUND

       The government anticipates that its evidence at the hearing will establish the

following:

       A.     Hughes’s Traffic Stop and Arrest

       On July 31, 2020, at approximately 8:00 p.m., Officer Sigartau along with

Officers Maria Anaya, Filip Bieniasz, and Reginald Engram were on patrol when

Officer Sigartau observed a silver Mazda 6 driving northbound on Independence

Boulevard near Interstate 290 and Congress Avenue.1         The officers were traveling


1  The facts recited here are based on: (1) materials produced by the government to
defendant in discovery, including CPD reports and Hughes’s recorded post-arrest
interview; and (2) information law enforcement officers more recently provided in

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southbound on Independence Boulevard when Officer Sigartau, who was driving the

police vehicle, saw through the windshield of the Mazda that the driver of the

vehicle—later identified as Hughes—was not wearing his seatbelt.

       Officer Sigartau made a U-turn and followed the Mazda, at which point she

saw Hughes fail to use his turn signal when changing lanes.          Officer Sigartau

activated the police vehicle’s emergency equipment in response to the observed traffic

violations and curbed the Mazda near 3755 West Congress Parkway in Chicago. See

Chicago Municipal Code § 9-76-180 (requiring drivers to wear seat belts); id. § 9-40-

200 (requiring a turn signal when changing lanes).2

       As Officer Sigartau approached the driver’s side of the Mazda, she saw that

the vehicle was missing a rear-panel window.    (The rear-panel window was not just

“broken,” as Hughes states in his motion, but completely missing.    Hughes Mot. at

2.)   Through the missing window, Officer Sigartau saw Hughes reach with his right

hand and place an L-shaped item that appeared to be in the shape of a handgun on

the backseat floorboard.   When Officer Sigartau reached the driver’s side window,

she asked Hughes for his driver’s license, which he gave her, and observed that

Hughes appeared nervous because he was moving around a lot in his seat.        Officer

Sigartau was concerned that Hughes might reach for the suspected weapon in the


response to the factual assertions in Hughes’s suppression motion.

2  The police vehicle that the officers were in that evening was not equipped with a
dashboard camera, and the officers were not wearing body-worn cameras because
their unit had not been provided with that equipment as of July 31, 2020.

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back seat, so she asked Hughes to exit the vehicle.

      Once outside of the vehicle, Officer Sigartau asked Hughes if there was a gun

in the car.   Hughes responded that there was.        Officer Sigartau then handcuffed

Hughes, opened the driver’s side rear door of the vehicle, entered the backseat area,

and recovered a loaded firearm from the backseat floorboard. Officer Sigartau did

not see a zipped “Vans” fanny pack during her search of the vehicle, and contrary to

Hughes’s assertion, the firearm Officer Sigartau recovered from the backseat

floorboard was not in a fanny pack.           Hughes Mot. at 3.      Officer Sigartau

subsequently asked Hughes if he had a firearm owners identification (FOID) card or

a concealed-carry license.   When Hughes responded that he did not have either,

Officer Sigartau arrested him.

      An individual who stated that he was Hughes’s relative was in the front

passenger seat at the time of the stop.       Officer Engram talked to the passenger

during the stop. When Officer Engram saw that Officer Sigartau had recovered a

firearm from the back seat, he asked the passenger to exit the vehicle and the

passenger complied.    The officers did not arrest the passenger, and they let the

passenger take possession of the vehicle per Hughes’s instructions. Sconizjah Jones,

Hughes’s girlfriend, was not present during the stop. Hughes Mot. at 2-3.3


3   The officers did not later request any Police Observation Device (pod) camera
footage because they did not use that footage as a basis for the traffic stop or search
of the vehicle. In any event, the pod cameras would not have captured any audio of
the traffic stop. Defense counsel later contacted the City of Chicago’s Office of
Emergency Management Communications to request pod camera footage of the

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       B.     Hughes’s Post-Arrest Interview

       About 1.5 hours after his arrest, two federal agents interviewed Hughes at the

11th District police station.   The interview was audio-recorded, and the agents

advised Hughes of his Miranda rights at the beginning of the interview.        Hughes

signed an Advice of Rights and Waiver form and agreed to speak with the agents.

       During the interview, Hughes said among other things that: he got pulled over

by Chicago Police officers, who detained him and found a pistol in his car; the gun

was in the back seat of the vehicle; he was not the only person in the car at the time

of the stop, but the gun belonged to him; during the traffic stop, he “adjusted” himself

and moved around while in the driver’s seat because he was scared; and he purchased

the gun about three years ago.     When one of the agents asked Hughes about his

statements to the officers during the stop, Hughes said that when the officers asked

him if there was anything illegal in the vehicle, Hughes responded that there was

“weed,” after which the officers went into the car and “found the pistol.”4

III.   ARGUMENT

       There appear to be factual disputes that bear on the disposition of Hughes’s

motion.     Specifically, Hughes claims that Officer Sigartau did not have probable


traffic stop and was told that the footage had not been preserved. Hughes Mot. at 1,
n.1.

4  The government will provide the Court with a copy of Hughes’s audio-recorded
interview under separate cover. Some parts of the interview are difficult to hear due
to rustle from the microphone.


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cause to search his vehicle because: (1) there is reason to doubt that Officer Sigartau

saw Hughes move his right hand towards the backseat floorboard given the size and

tint of the rear-panel window; (2) there is reason to doubt that Officer Sigartau saw

Hughes place an L-shaped object (i.e., the gun) on the backseat floorboard if the gun

was inside a zipped fanny pack; and (3) the search of the vehicle began before Hughes

was asked if there was a weapon in the car. Hughes Mot. at 3-4.      Those assertions

are contrary to the government’s evidence and require a hearing to establish the facts

that culminated in the recovery of the loaded firearm from the backseat floorboard of

Hughes’s vehicle.

      The government anticipates that the evidence will establish that Officer

Sigartau’s actions were proper under the Fourth Amendment.         As set forth below,

Officer Sigartau had probable cause to search the vehicle after she saw Hughes place

an L-shaped object on the backseat floorboard; after she noticed that Hughes

appeared nervous during the stop because he was moving around a lot in his seat;

and after Hughes told her that there was a gun in the vehicle.      Officer Sigartau’s

arrest of Hughes also was proper after Hughes told her that he did not have a permit

for the gun.

      Importantly, it is undisputed that Hughes was not wearing a seatbelt while he

was driving that evening and failed to use a turn signal when changing lanes and

that the officers therefore had a lawful basis to stop his vehicle. Hughes also does

not challenge that his post-arrest statements to the federal agents were made after


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he was advised of his Miranda rights and knowingly and voluntarily waived them.

Accordingly, there is no need to hear evidence on those undisputed issues at the

hearing.

      A.     The Search of Hughes’s Vehicle was Appropriate.

      The search of Hughes’s vehicle and the seizure of his firearm from the backseat

floorboard did not violate the Fourth Amendment.       The Fourth Amendment bars

warrantless searches unless one of a few specifically established and well-delineated

exceptions applies. United States v. Williams, 627 F.3d 247, 251 (7th Cir. 2010). In

this case, the search of Hughes’s vehicle was constitutional under the automobile

exception and as a protective search.

             1.    Automobile Exception

       First, the search was appropriate under the automobile exception to the

warrant requirement.      That exception allows law enforcement to conduct a

warrantless search of a vehicle if there is probable cause to believe that the vehicle

contains contraband or evidence of a crime. Williams, 627 F.3d at 251; United States

v. Shaffers, No. 17 CR 438, 2018 WL 3141825, at *4 (N.D. Ill. June 26, 2018) (“Due to

an automobile’s ‘ready mobility’ and an individual’s reduced right to privacy of an

automobile, searches of vehicles are reasonable when there is probable cause to

believe that the search will uncover contraband or evidence of crime.”) (citing United

States v. Pittman, 411 F.3d 813, 817 (7th Cir. 2005)). Probable cause to search exists

when, “based on the known facts and circumstances, a reasonably prudent person


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would believe that contraband or evidence of a crime will be found in the place to be

searched.” Williams, 627 F.3d at 251; see also United States v. Calvo-Saucedo, 409

Fed. App’x 21, 25 (7th Cir. 2011) (probable cause determination is based on the

totality of the circumstances). In other words, it exists when there is merely “a fair

probability” that contraband or evidence of a crime would be found inside a vehicle.

Williams, 627 F.3d at 251.     A probable cause finding “does not require evidence

sufficient to support a conviction, nor even evidence demonstrating that it is more

likely than not that the suspect committed a crime.” Id. at 252 (citing United States

v. Funches, 327 F.3d 582, 587 (7th Cir. 2003)).     In determining whether probable

cause exists, law enforcement officers are entitled to draw reasonable inferences

based on their training and experience. Id. at 251.

      Here, Officer Sigartau had probable cause to search the vehicle after Hughes

said that there was a firearm in the vehicle since it is illegal in Illinois to carry or

possess a firearm in a vehicle except under limited circumstances.5   E.g., Lee v. Price,

463 Fed. App’x 575, 578 (7th Cir. 2011) (holding that a police officer had probable

cause to search the vehicle when the driver informed the officer that there were guns

in the car because it is a crime in Illinois to have access in a car to a gun that is



5  While not raised in Hughes’s motion and thus forfeited, Officer Sigartau was
allowed to ask Hughes whether he had a gun in the car without first advising him of
his Miranda rights because she reasonably believed that the question was necessary
to ensure her and the other officers’ safety. See United States v. Khan, 937 F.3d
1042, 1054 (7th Cir. 2019) (holding that officer’s question if defendant was armed fell
within the public-safety exception to Miranda).

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operable unless the weapon is unloaded and secured in a case or other container);

Carr v. Jehl, No. 13 C 6063, 2015 WL 362089, at **5-7 (N.D. Ill. Jan. 28, 2015)

(officers had probable cause to believe that an individual was in violation of Illinois

law when they found a gun in the individual’s vehicle and believed that the individual

lived at a different address); 720 ILCS 5/24-1(a)(4) (prohibiting a person from

knowingly carrying or possessing a firearm in any vehicle except when on his land or

in his own home, legal dwelling, or fixed place of business, or on the land or in the

legal dwelling of another person as an invitee with that person’s permission or unless

the firearm is (1) broken down in a non-functioning state; (2) not immediately

accessible; (3) unloaded and enclosed in a case or other container; or (4) carried or

possessed in accordance with a concealed-carry license).6

      Furthermore, Hughes’s acknowledgment that there was a gun in the vehicle

was not the only evidence supporting probable cause.             As Officer Sigartau

approached the stopped vehicle, she saw Hughes place an L-shaped item that

appeared to be in the shape of a handgun on the backseat floorboard.           Officer

Sigartau also noticed that Hughes appeared nervous and was moving around a lot in



6  See also United States v. Holmes, No. 13 CR 65, 2013 WL 2250432, at **4-5 (E.D.
Mo. May 15, 2013) (police had probable cause to search defendant’s vehicle when,
among other things, defendant voluntarily told the police that there was a gun under
a jacket between the seats of his vehicle); United States v. Reed, No. 17 CR 29, 2018
WL 306721, at *3 (S.D. Ind. Jan. 5, 2018) (officers had probable cause to search a
vehicle when, among other things, one of the passengers told the officers that the
defendant attempted to hand the passenger a gun while in the vehicle and the
passenger refused to take the gun).

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the driver’s seat while she questioned him.         Those observations of suspicious

conduct, when coupled with Hughes’s statement that there was a gun in the car, gave

Officer Sigartau probable cause to believe that the vehicle contained contraband or

evidence of a crime, which it in fact did. See United States v. Williams, No. 19 CR

662, 2021 WL 25550, at *8 (N.D. Ill. Jan. 1, 2021) (“When gun possession is paired

with evasive or other suspicious conduct, probable cause can be found.”).

       And while Hughes now claims that the search of the vehicle began before he

was asked whether there was a weapon in the car (Hughes Mot. at 4), according to

his recorded post-arrest interview and the interviewing agent, Hughes said that when

the officers asked him if there was anything illegal in the vehicle, he responded that

there was “weed” in the car, after which the officers searched the vehicle and “found

the pistol.”   Thus, even under Hughes’s stated version of the events, the officers had

probable cause to search the vehicle after Hughes told them that there was illegal

marijuana inside the car, particularly when taken together with Officer Sigartau’s

observations of Hughes as she approached the vehicle and while she talked to him at

the vehicle. E.g., United States v. Kizart, 967 F.3d 693, 696 (7th Cir. 2020) (probable

cause existed to believe the vehicle contained contraband or evidence of criminality

when, among other things, driver admitted that marijuana had been smoked inside

the vehicle); 410 ILCS 705/10-35(a)(2)(D) (prohibiting the possession of marijuana in

a vehicle unless it “is in a reasonably secured, sealed container and reasonably

inaccessible while the vehicle is moving”).


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              2.     Protective Search

       Second, even if the Court were to disregard what Hughes said to Officer

Sigartau and when, a protective search of the passenger compartment of the vehicle

was reasonable under the circumstances.         As Officer Sigartau approached the

vehicle, she saw Hughes place an object that she believed was a gun on the backseat

floorboard—the location from which she later recovered the loaded firearm.    Hughes

also appeared nervous and was moving around a lot while being questioned (as he

admitted in his post-arrest interview), causing Officer Sigartau to worry that Hughes

might reach for the suspected firearm in the back seat.         Those circumstances

(without even considering that Hughes admitted that there was a gun in the car prior

to the search) provided Officer Sigartau with a reasonable basis to search the vehicle

to ensure the officers’ safety.

       An officer with a reasonable suspicion that a motorist may be armed and may

be able to gain immediate control of weapons may conduct a protective search of the

passenger compartment of the vehicle without a warrant. Michigan v. Long, 463

U.S. 1032, 1049 (1983).    Such a search must be confined to “those areas in which a

weapon may be placed or hidden.”       Id.    Unusual movements, such as Hughes’s

furtive movements here, may lead to a reasonable suspicion that an individual has

retrieved or concealed a weapon.    Indeed, in United States v. Arnold, 388 F.3d 237

(7th Cir. 2004), the officer saw the defendant either retrieving or placing something

in the back seat, which gave the officer “a lot of concern for what might be in the


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vehicle.” Id. at 238.   The Seventh Circuit held that was sufficient to give the officer

reasonable suspicion to search the car. Id. at 240-41.    Likewise, in United States v.

Schlatter, 411 Fed. App’x 896, 899 (7th Cir. 2011), the Seventh Circuit held that an

officer had reasonable suspicion to search the car after the defendant was moving

around suspiciously in the driver’s seat after being stopped for speeding. A similar

decision is warranted here in light of Hughes’s observed movements and the presence

of two individuals in the vehicle (Hughes and the passenger) who could have gained

“immediate control” of the gun on the backseat floorboard. Long, 463 U.S. at 1049;

Shaffers, 2018 WL 3141825 at *4 (officers’ protective search of the vehicle was

reasonable based on, among other things, defendant’s furtive movements and the fact

that at least one of the passengers had immediate access to the gun).

      B.     Hughes was Lawfully Arrested.

      Officer Sigartau’s arrest of Hughes was lawful.    After recovering the gun from

the backseat floorboard, Officer Sigartau asked Hughes if he had a FOID card or

concealed-carry license.   Hughes’s response that he did not have either provided

Officer Sigartau with probable cause to arrest him for his unlawful possession of a

firearm.




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IV.   CONCLUSION

      For the foregoing reasons, the government respectfully requests that Hughes’s

motion to suppress be denied following a hearing.

                                          Respectfully submitted,

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